
668 S.E.2d 28 (2008)
HODGSON CONSTRUCTION, INC.
v.
Ronald Wallace HOWARD and wife, Shirley Ann Howard.
No. 5P08.
Supreme Court of North Carolina.
October 9, 2008.
John Logsdon, North Wilkesboro, for Howard.
Daniel Johnson, North Wilkesboro, for Hodgson Construction.
Prior report: ___ N.C.App. ___, 654 S.E.2d 7.

ORDER
Upon consideration of the petition filed by Defendants on the 7th day of January 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
Upon consideration of the petition filed on the 7th day of January 2008 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
